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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         2:12-CR-00250-GEB
12                 Plaintiff,
                                                       FINAL ORDER OF FORFEITURE
13          v.
14   XAVIER L. JOHNSON, and
     KRISTIN M. CALDWELL,
15
                   Defendants.
16

17          WHEREAS, on May 18, 2017, this Court entered a Preliminary Order of Forfeiture pursuant

18 to the provisions of 18 U.S.C. § 2323(b)(1), based upon the plea agreements entered into between

19 plaintiff and defendants Xavier L. Johnson and Kristin M. Caldwell forfeiting to the United States
20 the following property:

21                 a. Any DVDs bearing counterfeit marks;
                   b. HP Pavilion S/N 5ANGNDAH2ZT2WP;
22                 c. HP Pavilion S/N 5AAGHD7H2WG13U;
                   d. HP Touchsmart printer;
23                 e. Canon scanner;
                   f. Express Label printer number 367CN;
24                 g. eMachines computer S/N PTNCG02001031049C59600;
                   h. ASUS computer S/N 990AAS065130;
25                 i. HP LaserJet P1102x S/N VNB3Z40639;
                   j. eMachines computer S/N PTNCK02001046012D69600;
26                 k. eMachines computer S/N PTNCK02001046022329600;
                   l. SVAT digital storage device S/N 100405242; and
27                 m. Supersealer Shrink wrap System S/N 18327333.
28          AND WHEREAS, beginning on May 23, 2017, for at least 30 consecutive days, the United
                                              1
29                                                                                  Final Order of Forfeiture

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 1 States published notice of the Court's Order of Forfeiture on the official internet government

 2 forfeiture site www.forfeiture.gov. Said published notice advised all third parties of their right to

 3 petition the Court within sixty (60) days from the first day of publication of the notice for a hearing

 4 to adjudicate the validity of their alleged legal interest in the forfeited property.

 5          AND WHEREAS, no third party has filed a claim to the subject property and the time for

 6 any person or entity to file a claim has expired.

 7          Accordingly, it is hereby ORDERED and ADJUDGED:

 8          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of America

 9 all right, title, and interest in the above-listed asset pursuant to 18 U.S.C. § 2323(b)(1), to be

10 disposed of according to law, including all right, title, and interests of Xavier L. Johnson and Kristin

11 M. Caldwell.

12          2.      All right, title, and interest in the above-listed assets shall vest solely in the name of

13 the United States of America.

14          3.      The U.S. Marshals Service shall maintain custody of and control over the subject

15 property until it is disposed of according to law.

16          SO ORDERED.

17 Dated: January 23, 2018

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29                                                                                         Final Order of Forfeiture

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